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                                                                                              U.S. DISTRICT COURT
                                                                                                  N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

DRUMMOND COMPANY, INC.,                             )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    ) Case No.: 2:11-cv-3695-RDP
TERRENCE P. COLLINGSWORTH,                          )
individually and as an agent of Conrad &            )
Scherer, LLP; and CONRAD & SCHERER,                 )
LLP,                                                )
                                                    )
       Defendants.                                  )

                          MEMORANDUM OPINION AND ORDER

       The Special Master has submitted five Reports and Recommendations regarding the

application of the crime-fraud exception to the attorney-client and work product privileges. (Docs.

# 569, 572, 590, 622, 633). This matter is before the court on Defendant Conrad & Scherer’s

objections to those Reports and Recommendations. In this Memorandum Opinion and Order, the

court addresses Conrad & Scherer’s (“C&S”) consolidated objections to the Special Master’s

Amended Reports and Recommendations regarding the “Bucket 2” and “Otero” documents on

Defendants’ Privilege Logs. (Doc. # 576).

I.     Applicable Law and Standard of Review

       In affirming this court’s application of the crime-fraud exception to the attorney-client

privilege in this case, the Eleventh Circuit explained:

       The crime-fraud exception allows a party—in rare circumstances—to obtain
       discovery that otherwise would be protected by the attorney-client privilege or the
       attorney work product doctrine. The crime-fraud exception applies when a two-part
       test is satisfied:

               First, there must be a prima facie showing that the client was engaged in
               criminal or fraudulent conduct when he sought the advice of counsel, that
               he was planning such conduct when he sought the advice of counsel, or that
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               he committed a crime or fraud subsequent to receiving the benefit of
               counsel’s advice. Second, there must be a showing that the attorney’s
               assistance was obtained in furtherance of the criminal or fraudulent activity
               or was closely related to it.

       [In re Grand Jury Investigation, 842 F.2d 1223, 1226 (11th Cir. 1987)]. Stated
       simply, the crime-fraud exception removes the “seal of secrecy” from attorney-
       client communications or work product materials when they are made in
       furtherance of an ongoing or future crime or fraud. [United States v. Zolin, 491 U.S.
       554, 56 (1989); see Cox v. Adm’r U.S. Steel & Carnegie, 17 F.3d 1386, 14-22 (11th
       Cir. 1994)] (recognizing that the crime-fraud exception “applies to work-product in
       the same way that it applies to the attorney-client privilege”). When the crime-fraud
       exception applies, an attorney’s opinion work product is discoverable. Cox, 17 F.3d
       at 1422.

Drummond, 885 F.3d at 1335. “[F]or the crime-fraud exception to apply, a court must find that the

specific document or testimony that the court is ordering to be produced reflects work of the

attorney that was performed in furtherance of the criminal or fraudulent activity or that was closely

related to it.” Drummond, 885 F.3d at 1338 (emphasis added). In remanding the case for the

Special Master’s in camera review of documents, the Eleventh Circuit specifically instructed that:

“[t]o conclude that the crime-fraud exception applies to require disclosure of any specific

document, the Special Master must find that the document either (1) reflects a communication

used to further a crime or fraud or was closely related to it or (2) was created to further a crime or

fraud or was closely related to it. Id., at 1339, n.14 (citing Cox, 17 F.3d at 1422; In re Grand Jury

Investigation, 842 F.2d at 1227) (emphasis added). This is not only the applicable law, this is the

law of this case.

       Federal Rule of Civil Procedure 53 sets forth the appropriate standard of review for a

district court to apply when reviewing recommendations made by a Special Master. Rule 53(f)(3)

provides as follows:

       Reviewing Factual Findings. The court must decide de novo all objections to
       findings of fact made or recommended by a master, unless the parties, with the
       court’s approval, stipulate that:


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       (A) the findings will be reviewed for clear error; or

       (B) the findings of a master appointed under Rule 53(a)(1)(A) or (C) will be final.

Rule 53(f)(4) provides as follows:

       Reviewing Legal Conclusions. The court must decide de novo all objections to
       conclusions of law made or recommended by a master.

       In acting on a report and recommendation, the court must afford the parties an opportunity

to be heard. Fed. R. Civ. P. 53(f)(1). “The requirement that the court must afford an opportunity

to be heard can be satisfied by taking written submissions when the court acts on the report without

taking live testimony.” Fed. R. Civ. P. 53 advisory committee’s note on 2003 amendments. The

Court may “adopt or affirm, modify, wholly or partly reject or reverse, or resubmit to the master

with instructions.” Fed. R. Civ. P. 53(f)(1). The court has reviewed all objections to the Special

Master’s privilege findings de novo, in connection with a review of each subject document.

II.    Analysis of Conrad & Scherer’s Objections

       A.      General Objections

       C&S acknowledges that the Special Master, in his revised R&Rs, provided additional key

information in that he specified the standard used, indicated which crime or fraud a particular

document related to, and provided proposed redactions for documents. However, C&S still

maintains that the Special Master’s application of this standard remains overly broad. (Doc. # 576

at 11). C&S argues that “[n]one of the documents listed in the crime-fraud spreadsheets relate

closely to or are in furtherance of the criminal or fraudulent activities, because no criminal or

fraudulent activities occurred.” (Id.).

       Respectfully, that ship has sailed. This court has already determined that “the crime-fraud

exception’s first prong was satisfied as to three crimes: fraud on the court, witness bribery, and

suborning perjury.” Drummond, 885 F.3d at 1332. That order was affirmed. Id., at 1339. Separate


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and apart from this unavailing general argument, C&S also urges an overly restrictive application

of the second prong. But that argument misses the mark because, “[g]enerally, the relatedness

requirement ‘should not be interpreted restrictively.’” Gutter v. E.I. Dupont De Nemours, 124 F.

Supp. 2d 1291, 1314 (S.D. Fla. 2000) (quoting Schroeder, 842 F.2d at 1227). Because, like

Collingsworth’s objections [CITE], C&S’s general objection rests on an improperly narrow

application of the relatedness prong, its general objection is OVERRULED.

           B.     Specific Objections

           C&S appears to have taken to heart this court’s attempt to reduce the number of documents

at issue in relation to the court’s crime-fraud review. During that process, the Firm has removed

certain documents from its privilege logs. The court commends the Firm and its counsel for these

efforts.

           The documents provided by C&S for in camera inspection and for which it currently

maintains an objection are addressed below.

           Document CSPRIV403531 is a two page e-mail chain between Mark Carlson, the

President and Managing Partner of Secure Pointe partners and Terry Collingsworth. Although the

communication is between lawyers, it appears to relate to business and financial matters, rather

than legal or strategic matters. See In re Vioxx Prod. Liab. Litig., 501 F. Supp. 2d at 797 (citing In

re CFS-Related Securities Fraud Litigation, 223 F.R.D. 631 (N.D. Okla. 2004) (“Business advice,

unrelated to legal advice, is not protected by the privilege even though conveyed by an attorney to

the client.”)). Therefore, it does not appear to be a privileged communication. Moreover, even if it

was privileged, it relates to payments to Otero, who facilitated payments to witnesses, and

therefore may constitute a communication that “was created to further a crime or fraud or was

closely related to it.” Drummond, 885 F.3d at 1339, n.14. Therefore, C&S’s objection to the report



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that Document CSPRIV403531 is due to be produced is OVERRULED.

       Document CSPRIV405043 is a two-page e-mail from Collingsworth dated May 22, 2011

entitled “Confidential Trip Report.” This is the infamous “deps in the can” e-mail in which

Collingsworth indicates that his team needs to continue to pay “security costs” for El Tigre and

Samario in the amount of “$2,700 per month to maintain until we get deps in the can.” The Special

Master recommended that the document be produced in redacted form such that the vast majority

of the first paragraph is redacted. C&S objected that the last sentence in the first paragraph should

also be redacted.

       Again, this court previously found that the crime-fraud exception’s first prong was satisfied

as to three crimes: fraud on the court, witness bribery, and suborning perjury. (Doc. # 417). This

court also recently observed that the:

       assertion[] that communications to and about paid witnesses (e.g., setting meetings,
       preparing them for depositions,[] reviewing their testimony) are not discoverable is
       off target. That discovery is fair game as it is “closely related to” the payments
       made to the witnesses.

(Doc. # 676 at 29). Here, the first paragraph of the redacted document reviews the testimony of

Jaime Blanco, one of the paid witnesses, and the effect his testimony may have on other witnesses.

This paragraph is “fair game” as it is “closely related to” the payments made to Blanco. Therefore,

C&S’s objection that the last sentence of the first paragraph of the document should also be

redacted is OVERRULED. Moreover, the recommendation that the first paragraph be redacted is

REJECTED. Based on its own de novo review of document CSPRIV405043, the court finds that

the first paragraph of that document is subject to the crime-fraud exception in its entirety.

       Document CSPRIV405628 is a sixty-six page compilation of various e-mails among

Collingsworth’s legal team, much of which is duplicative. The vast majority of the e-mails do not

appear to be privileged as they merely discuss logistical matters about where to meet for


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depositions in Colombia. C&S objects to the production of only a portion of this document,

specifically page CSPRIV405647, which they assert is work product and not subject to the crime-

fraud exception. The court agrees that the Tuesday, July 10, 2012 12:11 p.m. e-mail from Lorraine

Leete to Collingsworth and Christian Levesque which contains draft deposition questions and

some analysis thereof is properly designated as work product. Therefore, C&S’s objection to the

determination that CSPRIV405628 is subject to the crime-fraud exception is SUSTAINED. All

copies of Leete’s Tuesday, July 10, 2012 12:11 p.m. e-mail contained within CSPRIV405628

should be appropriately redacted before production.

       Document CSPRIV407854 is a seven page e-mail string between Collingsworth, Mark

Carlson at Secure Pointe, and Michael Hugo regarding bills and a scope of work for Secure Point

on the Drummond cases. The vast majority of the e-mail string is not privileged because it merely

discusses logistics and fees. See Armor Screen Corp. v. Storm Catcher, Inc., 2009 WL 2767664,

at *2 (S.D. Fla. Aug. 31, 2009) (“the communication of factual information, such as reports

containing a litigation’s status, fee agreements, and retainer agreements are generally not protected

by the attorney-client privilege”) (citing O’Neal v. United States, 258 F. 3d 1265, 1276 (11th Cir.

2001)) (“it is the law of this Circuit that information involving receipt of attorneys’ fees from a

client is not generally privileged”). The paragraph on CSPRIV407857 mentioning the DynCorp

case should be redacted as work product unrelated to the Drummond cases. However, the next

paragraph on the same page mentioning “the Drummond issue” is due to be produced. The court

concludes that this document “reflects a communication used to further a crime or fraud or was

closely related to it” and/or “was created to further a crime or fraud or was closely related to it”

related to witness bribery. Therefore, C&S’s objection to the Special Master’s recommendation

that CSPRIV407854 is subject to the crime-fraud exception is OVERRULED.



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       Document CSPRIV410509 is represented to be an e-mail communication between

Collingsworth and a potential witness in the Drummond litigation. The copy that has been provided

to the court is unreadable. The court has been provided no basis on which to sustain an objection

to the Special Master’s recommendation. Therefore, C&S’s objection to the Special Master’s

recommendation that CSPRIV410509 is subject to the crime-fraud exception is OVERRULED.

       Document CSPRIV410510 is a ninety-seven page collection of numbered articles. These

articles were attached to an e-mail between Collingsworth and a potential witness. Although C&S

contends that the collection and organization of the articles reflects attorney work product. The

court has been provided no basis on which to sustain an objection to the Special Master’s

recommendation. The court has no information indicating that the collection was organized by an

attorney or that it was done in relation to ongoing litigation, particularly inasmuch as the articles

are in Spanish. Therefore, C&S’s objection is OVERRULED.

       Document CSPRIV413414 is an e-mail string among Collingsworth’s legal team,

portions of which pertain to wire transfers to Ivan Otero for security payments. C&S contends

that the 1st, 3rd, and 4th sentences of Otero’s March 5, 2012 9:30 p.m. e-mail should be redacted as

work product. The court disagrees. The e-mail relates to money being wired to Otero, who was

responsible for payments to witnesses. The court concludes that this document “reflects a

communication used to further a crime or fraud or was closely related to it” and/or “was created

to further a crime or fraud or was closely related to it” related to witness bribery. Therefore, C&S’s

objection to the determination that Document CSPRIV413414 is subject to the crime-fraud

exception is OVERRULED.

       Document CSPRIV413416 is a similar e-mail string to CSPRIV413414 among

Collingsworth’s legal team, portions of which pertain to wire transfers to Ivan Otero for security



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payments, only with some English translations. C&S again contends that the 1st, 3rd, and 4th

sentences of Otero’s March 5, 2012 9:30 p.m. e-mail should be redacted as work product. Again,

the court disagrees. The e-mail relates to money being wired to Otero, who was responsible for

payments to witnesses. Therefore, C&S’s objection to the Special Master’s recommendation that

Document CSPRIV413416 is subject to the crime-fraud exception is OVERRULED.

       Document CSPRIV413450 is a six page e-mail string among Collingsworth’s legal team,

with some English translations. The e-mails discuss the status and source of payments to Ivan

Otero for security and/or witnesses. The Special Master recommended that portions are closely

related to or in furtherance of the crime of witness bribery and should be produced, and the

remainder should be redacted as work product. C&S objects that (1) the paragraphs on

CSPRIV413450 starting with “On the trip...” and “Any word...”; (2) the paragraphs on

CSPRIV413451 and CSPRIV413454, starting “With regards to...”; and (3) the paragraph on

CSPRIV413452 and CSPRIV413454 from “En lo que tiene...” to the end of the e-mail are all

work product, do not reflect any crime-fraud issues, and should be redacted. The court agrees.

These portions of the e-mails appear to be work product related to cases not before this court and

do not appear to relate to any of the crimes or frauds at issue. Therefore, C&S’s objection that

portions of Document CSPRIV413450 (and CSPRIV413454) should be redacted as work

product and not subject to the crime-fraud exception is SUSTAINED. The same redactions should

be made on the following documents which are within various duplicates of the e-mail string:

CSPRIV413463, CSPRIV413469, CSPRIV413473, CSPRIV413479, CSPRIV413485.

       Document CSPRIV413490 is a two page e-mail from Collingsworth (translated by

Lorraine Leete) to Ivan Otero regarding a request for reimbursement of large sums incurred in

connection with development of witness testimony. C&S objects that the parenthetical in first un-



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redacted paragraph (“En Drummond … por 11 años.”) on CSPRIV413491 is work product and

does not reflect any crime-fraud issues. To the contrary, the parenthetical refers directly to

payments made in the cases against Drummond. Therefore, C&S’s objection regarding Document

CSPRIV413490 is OVERRULED.

         Document CSPRIV414298 is a translation of a published article that is not attached to

any privileged communication and does not reflect any attorney’s mental impressions.

Collingsworth1 asserts that, because the document is a translation, it is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

         Document CSPRIV414380 is translation of a letter received from Colombian government

official. Collingsworth asserts that, because the document is a translation, it is work product and

should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection

OVERRULED.

         Document CSPRIV414391 is a handwritten declaration of a Colombian witness, with

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.




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            C&S initially filed objections to the Special Master’s recommendations on certain documents. After the re-
certification process, C&S withdrew its claims of privilege to a number of documents. However, although C&S is
willing to produce these documents, Collingsworth has asserted a wholesale objection to their production. The court
reviews these documents based on Collingsworth’s objection to their production by addressing C&S’s original stated
reason for the objection.

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       Document CSPRIV414416 is a signed declaration of a Colombian witness, with

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV414422 is a typed, final declaration of a Colombian witness, with

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV414427 is a translation of a declaration of a Colombian witness that is

not attached to any privileged communication and does not reflect attorney mental impressions.

Collingsworth asserts that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV414559 is a translation of a published article that is not attached to

any privileged communication and does not reflect any attorney’s mental impressions.

Collingsworth asserts that, because the document is a translation, it is work product and should not

be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV414565 is a translation of a signed declaration of a Colombian witness

that is not attached to any privileged communication and does not reflect attorney mental

impressions. Collingsworth asserts that the translation is work product and should not be produced.



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Translations of documents are to be treated the same as the underlying document (Doc. # 628 at &

10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV414569 is a translation of a declaration of a Colombian witness that is

not attached to any privileged communication and does not reflect attorney mental impressions.

Collingsworth asserts that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415087 is a 192-page Spanish translation of a pleading filed in the

Balcero case, together with an attachment in Spanish, not attached to any privilege

communication. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415515 is a translated declaration provided by Javier Ernesto Ochoa

Quiñonez. An unredacted copy of this document was produced in the Romero case. Collingsworth

asserts that the translation is work product and should not be produced. Translations of documents

are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which is neither

work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415518 is a signed declaration of a Colombian witness in the Romero

case, with translation, that is not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.




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       Document CSPRIV415525 is a translation of declaration of Colombian witness, not

attached to any privileged communication and does not reflect attorney mental impressions.

Collingsworth asserts that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415534 is a signed declaration of a Colombian witness in the Romero

case, in Spanish. The objection is that a translation is work product and should not be produced.

Because there is no translation, and because translations of documents are to be treated the same

as the underlying document (Doc. # 628 at & 10(c)), the objection is OVERRULED.

       Document CSPRIV415566 is a typed declaration of a Colombian witness, with

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415579 is a translation of a declaration of a Colombian witness in the

Romero case that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415599 is a translation of a declaration of a Colombian witness in the

Romero case that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.



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# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415624 is a translation of a declaration of a Colombian witness filed

in the Romero case that is not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Documents CSPRIV415624 and CSPRIV415626 are copies of a translation of a

declaration of a Colombian witness filed in the Romero case that is not attached to any privileged

communication and does not reflect attorney mental impressions. Collingsworth asserts that the

translation is work product and should not be produced. Translations of documents are to be treated

the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor

privileged. Objection OVERRULED.

       Document CSPRIV415628 is a translation of a declaration of a Colombian witness in the

Romero case that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV415657 is a typed declaration of a Colombian witness in the Romero

case, in Spanish. The objection is that a translation is work product and should not be produced.

Because there is no translation, and because translations of documents are to be treated the same

as the underlying document (Doc. # 628 at & 10(c)), the objection is OVERRULED.

       Document CSPRIV425845 is a document marked for production and produced in one of

the underlying cases. It is a translation of a speech. Collingsworth asserts that the translation is



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work product and should not be produced. Translations of documents are to be treated the same as

the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV429921 is a published article that is not attached to any privileged

communication and does not reflect any attorney’s mental impressions. Collingsworth asserts that

the translation is work product and should not be produced. Translations of documents are to be

treated the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work

product, nor privileged. Objection OVERRULED.

       Document CSPRIV429929 is a typed press release or public announcement regarding

Drummond, in Spanish, not attached to any privileged communication and not reflecting attorney

mental impressions. The objection is that the document is a draft press release, and that because it

is not final version, it reflects mental impressions and is protected by work product. The court

understands that the original privilege log description did not identify the document as a draft. The

party asserting the privilege bears the burden to provide a factual basis for its privilege assertion

and blanket and general assertions of a claim of privilege are insufficient. See Meade v. Gen.

Motors, LLC, 250 F. Supp. 3d 1387, 1393 (N.D. Ga. 2017). The document does not appear to be

prepared for litigation purposes and is not attached to any privileged communication. Objection

OVERRULED.

       Document CSPRIV429949 is a typed press release or public announcement regarding

Drummond, not attached to any privileged communication and does not reflect attorney mental

impressions. Collingsworth asserts that it is a translation and that the translation is work product

and should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection



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OVERRULED.

       Document CSPRIV429952 is a typed translation of a letter to Drummond, not attached to

any privileged communication and does not reflect attorney mental impressions. Collingsworth

asserts that it is a translation and that the translation is work product and should not be produced.

Translations of documents are to be treated the same as the underlying document (Doc. # 628 at &

10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV429956 is a translation of a published article, with the original article

in Spanish, that is not attached to any privileged communication and does not reflect any attorney’s

mental impressions. Collingsworth asserts that the first four pages are a translation and that the

translation is work product and should not be produced. Translations of documents are to be treated

the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor

privileged. Objection OVERRULED.

       Document CSPRIV429962 is a certified of translation of a Colombian witness’s

declaration, that is not attached to any privileged communication and does not reflect attorney

mental impressions. The Special Master recommended that confidential, identifying information

about the witness should be redacted. Collingsworth asserts that it is a translation and that the

translation is work product and should not be produced. Translations of documents are to be treated

the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor

privileged. Objection OVERRULED.

       Document CSPRIV429964 is a typed, certified translation of a Colombian government

document relating to a plaintiff in one of the underlying cases, that is not attached to any privileged

communication and does not reflect attorney mental impressions. The Special Master

recommended that confidential, identifying information about the individual should be redacted.



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Collingsworth asserts that it is a translation and that the translation is work product and should not

be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV429965 is a certified translation of a Colombian witness’s declaration

that is not attached to any privileged communication and does not reflect attorney mental

impressions. Collingsworth asserts that it is a translation and that the translation is work product

and should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection

OVERRULED.

       Document CSPRIV429969 is a document produced by the Colombian Government in one

of the underlying cases, including a translation. The Special Master recommended that

confidential, identifying information should be redacted. Collingsworth asserts that the translation

is work product and should not be produced. Translations of documents are to be treated the same

as the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV430060 is a translation of a document marked for production and

produced in one of the underlying cases that is not attached to any privileged communication and

does not reflect attorney mental impressions. Collingsworth asserts that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the

underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Documents CSPRIV430061 and CSPRIV431607 are two copies of a Spanish

transcription of a Colombian union worker’s speech that is not attached to any privileged



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communication and does not reflect attorney mental impressions. Collingsworth asserts that the

translation is work product and should not be produced. Translations of documents are to be treated

the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor

privileged. Objection OVERRULED.

       Document CSPRIV431703 is a translation of a Colombian union press release that is not

attached to any privileged communication and does not reflect attorney mental impressions.

Collingsworth asserts that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV432369 is a signed letter from Colombian government to Drummond,

together with a translation that is not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV432380 is a signed letter from Colombian government to Drummond,

together with a translation that is not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV432464 is a signed letter from Colombian government to Drummond,

together with a translation that is not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document



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(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV432475 is a signed letter from Colombian government, together with

a translation that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV432556 is a published article, with a translation, that is not attached to

any privileged communication and does not reflect any attorney’s mental impressions.

Collingsworth asserts that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV433253 is a signed declaration of a Colombian witness, together with

a translation and certification of translation, that is not attached to any privileged communication

and does not reflect attorney mental impressions. Collingsworth asserts that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the

underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV433283 is a signed declaration of a Colombian witness, together with

a translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.




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       Documents CSPRIV433493, CSPRIV433496, CSPRIV433817, CSPRIV434234, and

CSPRIV434242 are documents marked for production and produced, together with translations,

in one of underlying cases that are not attached to any privileged communication and do not reflect

attorney mental impressions. Collingsworth asserts that the translations are work product and

should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection

OVERRULED.

       Document CSPRIV434245 is a Colombian union press release or other public

announcement, together with its translation, that is not attached to any privileged communication

and does not reflect attorney mental impressions. Collingsworth asserts that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the

underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV434252 is a document marked for production and produced, together

with a translation, in one of underlying cases that is not attached to any privileged communication

and does not reflect attorney mental impressions. Collingsworth asserts that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the

underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV434804 is a signed declaration in the Romero case, together with a

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.



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# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Documents CSPRIV434834 and CSPRIV434896 are documents marked for production

and produced, together with translations, in one of underlying cases that are not attached to any

privileged communication and do not reflect attorney mental impressions. Collingsworth asserts

that the translations are work product and should not be produced. Translations of documents are

to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work

product, nor privileged. Objection OVERRULED.

       Document CSPRIV435418 is a public announcement, with translation, not attached to

any privileged communication and does not reflect attorney mental impressions. Collingsworth

asserts that the translation is work product and should not be produced. Translations of documents

are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which is neither

work product, nor privileged. Objection OVERRULED.

       Document CSPRIV435420 is a signed declaration in the Romero case, together with a

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Documents CSPRIV435427 and CSPRIV435442 are third-party letters, with translations,

that are not attached to any privileged communication and do not reflect attorney mental

impressions. Collingsworth asserts that the translations are work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.




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       Document CSPRIV435492 is a document marked for production in one of the underlying

cases, including a translation, that is not attached to any privileged communication and does not

reflect attorney mental impressions. Collingsworth asserts that the translation is work product and

should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection

OVERRULED.

       Documents CSPRIV435500 and CSPRIV435511 are a third-party letter and a third-party

article, with translations, that are not attached to any privileged communication and do not reflect

attorney mental impressions. Collingsworth asserts that the translations are work product and

should not be produced. Translations of documents are to be treated the same as the underlying

document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection

OVERRULED.

       Document CSPRIV435807 is a Colombian government press release or public

announcement, with translation, not attached to any privileged communication and does not reflect

attorney mental impressions. Collingsworth asserts that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV435809 is a signed declaration in the Romero case, together with a

translation, that is not attached to any privileged communication and does not reflect attorney

mental impressions. Collingsworth asserts that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.




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       Documents CSPRIV435816 and CSPRIV435831 are third-party letters, with translations,

that are not attached to any privileged communication and do not reflect attorney mental

impressions. Collingsworth asserts that the translations are work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV438749 is an e-mail communication between Collingsworth and a

researcher with a Dutch human rights group who authored a report on funding and collaboration

of paramilitary groups in Colombia by coal companies. Collingsworth asserts that “e-mails with

NGO sharing common interest are work-product” and should not be produced. However,

Collingsworth has not demonstrated that “the parties [to the e-mail] had an identical legal and not

solely commercial interest,” In re Androgel Antitrust Litig. (No. II), 2015 WL 9581828, at *2 (N.D.

Ga. Dec. 30, 2015); therefore, that the common interest doctrine should apply. Objection

OVERRULED.

       Documents CSPRIV439198 and CSPRIV439199 are an e-mail communication between

Collingsworth and a lobbyist regarding a draft letter to U.S. lawmakers about letters rogatory, and

the draft letter to Columbian officials which Collingsworth wanted the lobbyist to arrange for U.S.

lawmakers to send, with a copy to the U.S. Ambassador to Colombia. The Special Master

recommended a finding that the work product privilege was waived because the e-mails were with

a third party lobbyist, which increased the likelihood of disclosure to Drummond.

       C&S’s objection is that “communications with lobbyist assisting on a case does not

increase likelihood of disclosure.” (Doc. # 576-3 at 29). C&S argues that, as an attachment to

privileged e-mails, the letter should be withheld and, alternatively, as a draft letter, it is also

independently privileged. (Id.).



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       The proponent of the work product privilege must provide the court with underlying facts

demonstrating the existence of the privilege. MapleWood Partners, L.P. v. Indian Harbor Ins. Co.,

295 F.R.D. 550, 582-83 (S.D. Fla. 2013). The proponent of the privilege must prove that the

document was “prepared with the primary motivating purpose of aiding in possible litigation.”

Wyndham Vacation Ownership, Inc. et al., v. Reed Hein & Assocs., LLC, et al., 2019 WL 9091666,

at *15 (M.D. Fla. Dec. 9, 2019); United States v. Davis, 636 F.2d 1028, 1040 (5th Cir. 1981). As

the party claiming the privilege, C&S is required to provide competent evidence that the primary

motivating purpose behind creating the document was litigation, and not a business purpose or

some other non-litigation purpose. Holladay v. Royal Caribbean Cruises, Ltd., 333 F.R.D. 588,

592 (S.D. Fla. 2019).

       Alone, the e-mails are not obviously prepared with a primary purpose of aiding in litigation

nor in anticipation of litigation. However, when the e-mails are read in conjunction with the

attached draft letter, it becomes clear that they were “prepared by the party or his representative

because of the [ongoing] litigation.’” Owens v. Stifel, Nicolaus & Co., 2013 WL 6389035, at *2

(M.D. Ga. Dec. 6, 2013) (quoting Shipes v. BIC Corp., 154 F.R.D. 301, 305 (M.D.Ga.1994)). As

to Documents CSPRIV439198 and CSPRIV439199, objection SUSTAINED.

       Documents CSPRIV439260, CSPRIV439262, CSPRIV439494, and CSPRIV439495

appear to be earlier e-mail communications between Collingsworth and a lobbyist regarding the

draft letter to U.S. lawmakers about letters rogatory discussed immediately above in relation to

Documents CSPRIV439198 and CSPRIV439199, and earlier drafts of the letter. For the reasons

noted above regarding Documents CSPRIV439198 and CSPRIV439199, as to Documents

CSPRIV439260,       CSPRIV439262,        CSPRIV439494,        and   CSPRIV439495,        objection

SUSTAINED.



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       Document CSPRIV439949 is an e-mail circulated among Collingsworth’s legal team. The

Special Master recommended that portions pertaining to payments to Colombian witness for

security are closely related to or in furtherance of the crime of witness bribery and should be

produced, but that the remainder should be redacted as work product. C&S argues that the final

sentence in the e-mail (starting “It might be good…”) is work product, does not reflect any crime-

fraud issues, and should be redacted. The court disagrees. The entire last paragraph pertains to a

meeting with two individuals one of whom received payments. Therefore, objection

OVERRULED.

       Document CSPRIV441731 is a translation of a signed declaration from a Colombian

witness that is not attached to any privileged communication and does not reflect attorney mental

impressions. Collingsworth asserts that the translation is work product and should not be produced.

Translations of documents are to be treated the same as the underlying document (Doc. # 628 at &

10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV443260 contains Collingsworth’s notes related to Drummond

regarding a January 26-February 3 trip to Columbia. The Special Master recommended that

portions discussing funds for witness and security for others and reflecting requests by witness for

payment are closely related to or in furtherance of the crime of witness bribery and should be

produced, but that the remainder should be redacted as work product. C&S’s objection is that,

within item 39 on page CSPRIV443263, (the second bullet point containing the second and third

sentences (starting “I also... Still waiting…”) are work product, do not reflect any crime-fraud

issues, and should be redacted. C&S asserts that those sections reflect a potential payment to a

contractor to gather evidence. (Doc. # 576-1 at 3). The court disagrees. Although the sentences are

subject to different interpretations, one interpretation is that they refer to payments to witnesses.



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Objection OVERRULED.

       Documents CSPRIV443266 and CSPRIV443372 contains different versions of

Collingsworth’s notes related to Drummond regarding a January 26-February 3 trip to Columbia,

They both contain the same item 39 discussed above. The Special Master again recommended that

portions discussing funds for witness and security for others and reflecting requests by witness for

payment are closely related to or in furtherance of the crime of witness bribery and should be

produced, but that the remainder should be redacted as work product. C&S makes the same

objection but that objection is off the mark for the reasons noted above. Objection OVERRULED.

       Document CSPRIV460032 is an e-mail chain between Collingsworth and George Pierce,

a former Drummond employee who was a witness in the Romero case. Within the e-mail chain,

Collingsworth asks Pierce for information related to a then-pending case against Drummond, to

which Pierce responds. The Special Master recommended a finding that the bottom e-mail

Collingsworth and Pierce is not privileged, but that the top e-mail is an internal counsel

communication that should be redacted as work product. C&S objects that communications with

potential witness in an effort to gather evidence is work product and asserts that the entire

document should be withheld. “The work-product doctrine protects materials if they were prepared

for [] litigation . . . .” MapleWood Partners, L.P. v. Indian Harbor Ins. Co., 295 F.R.D. 550, 619

(S.D. Fla. 2013) (citing FTC v. Grolier, Inc., 462 U.S. 19, 25 (1983)). The only sections of the e-

mail chain that appear to have been prepared for litigation are the paragraph in the April 22, 2009

e-mail from Collingsworth to Pierce starting “LET ME ASK…” and the answer in Pierce’s April

22, 2009 reply. Objection SUSTAINED IN PART.

       Document CSPRIV467056 is a status report pertaining to various cases handled by

Collingsworth’s legal team. The Special Master recommended a finding that portions of the report



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(pertaining to security funds provided to Ivan Otero and a large payment to a confidential

consultant for letters rogatory testimony) are closely related to or in furtherance of the crime of

witness bribery and should be produced, and that the remainder should be redacted as work

product. C&S objects that on page CSPRIV467058, the paragraph starting “I ALSO NOTE…” is

work product, does not reflect any crime-fraud issues, and should be redacted. That paragraph does

not reflect witness payments or unexplained payments for testimony and should be redacted as

work product. Objection SUSTAINED.

       Document CSPRIV467743 is an e-mail chain among Collingsworth’s legal team

pertaining to a payment to Ivan Otero pursuant to Attorney Cooperation Agreement. The Special

Master recommended a finding that the chain is closely related to or in furtherance of crime of

witness bribery and should be produced, with the personal/financial information redacted.

Collingsworth2 objects that all e-mails sent after Mindy Drath’s 3/30/2009 9:24 AM e-mail on

CSPRIV467745 (i.e., pages CSPRIV467743 to 467745) are work product, do not reflect any

crime-fraud issues, and should be redacted. The e-mails all relate to payments to, and agreement

with, Ivan Otero, who made payments to witnesses related to proceedings against Drummond.

Therefore, the court concludes that the e-mail chain is closely related to or in furtherance of crime

of witness bribery and should be produced, with the personal/financial information redacted.

Objection OVERRULED.

       Documents CSPRIV467753 and CSPRIV467756 are copies of an e-mail chain among

Collingsworth’s legal team pertaining to payments to Francisco Ramirez Cuellar and Ivan Otero.

The Special Master recommended a finding that the chain is closely related to or in furtherance of

crime of witness bribery and should be produced, with the personal/financial information redacted.



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           Again, C&S withdrew a number of its objections but Collingsworth persists in maintaining them.

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C&S objects. It contends that in the Rebecca Pendleton 3/30/09 9:56 AM e-mail, the second half

of Subject Line (starting with “$...”) and first sentence of un-redacted paragraph (“starting “Are

we…”) are work product, do not reflect any crime-fraud issues, and should be redacted. The e-

mails discuss monthly payments to Ramirez, who is a Colombian lawyer and is alleged to have

paid witnesses for use in proceedings against Drummond (Case No. 2:15-cv-00506-RDP, Doc. #

1). Therefore, the court concludes that the e-mail chain is closely related to or in furtherance of

crime of witness bribery and should be produced, with the personal/financial information redacted.

Objection OVERRULED.

       Documents CSPRIV467760, CSPRIV467775, CSPRIV467778, CSPRIV467783, and

CSPRIV467791 are copies of an e-mail chain among Collingsworth’s legal team pertaining to a

payment to Ivan Otero pursuant to Attorney Cooperation Agreement. The Special Master

recommended a finding that the chain is closely related to or in furtherance of crime of witness

bribery and should be produced, with the personal/financial information redacted. Collingsworth

objects that all e-mails sent after Mindy Drath’s 3/30/2009 9:24 AM e-mail are work product, do

not reflect any crime-fraud issues, and should be redacted. The e-mails all relate to payments to,

and agreement with, Ivan Otero, who made payments to witnesses in proceedings against

Drummond. Therefore, the court concludes that the e-mail chain is closely related to or in

furtherance of crime of witness bribery and should be produced, with the personal/financial

information redacted. Objection OVERRULED.

       Document CSPRIV468946 is an e-mail among Collingsworth’s legal team, portions of

which pertains to requests by Colombian co-counsel for reimbursement of large sums of money

incurred in connection with development of witness testimony. The Special Master recommended

a finding that this portion of the e-mails is closely related to or in furtherance of the crime of



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witness bribery and should be produced, with the remainder redacted as work product. C&S

objects that the parenthetical (“In Drummond… for 11 years.”) is work product, does not reflect

any crime-fraud issues, and should be redacted. That sentence, however, may also encompass

and/or be closely related to payments to witnesses in in proceedings against Drummond. Therefore,

the court finds that the parenthetical is closely related to or in furtherance of crime of witness

bribery and should be produced. Objection OVERRULED.

       Document CSPRIV469027 are e-mail communications among Collingsworth’s team

portions of which pertain to monthly payments to Ivan Otero for payments to witnesses. The

Special Master recommended a finding that those portions of the e-mails are closely related to or

in furtherance of the crime of witness bribery and should be produced, with the remainder redacted

as work product. C&S objects that the third paragraph in Luisa Pavolini’s September 26, 2012

3:46 PM e-mail (starting “Please note…”) is work product, does not reflect any crime-fraud issues,

and should be redacted. The court agrees that this portion of the e-mail does not meet crime-fraud

standard and should be redacted. Objection SUSTAINED.

       Documents CSPRIV469034 and CSPRIV469034 are copies of e-mail communications

among Collingsworth’s team, portions of which pertain to Albert Van Bilderbeek and funding of

Colombian expenses. The Special Master recommended a finding that this portion of the e-mail

is closely related to or in furtherance of the crime of witness bribery and should be produced, and

the remainder redacted as work product. C&S objects that the first full sentence Collingsworth

November 5, 2012 9:42 AM e-mail (starting “I hope that…”) does not reflect any crime-fraud

issues and should be redacted. The court finds that the identified sentence does not meet the crime-

fraud standard and should be redacted. Objection SUSTAINED.




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       Documents CSPRIV469106 and CSPRIV469107 are copies of e-mail communications

among Collingsworth’s legal team regarding the status and source of security payments to Ivan

Otero. The Special Master recommended a finding that portions of the e-mail are closely related

to or in furtherance of the crime of witness bribery and should be produced, and the remainder

redacted as work product. C&S objects (1) that Hager’s September 25, 2012 7:59 PM e-mail

should be redacted in its entirety as it is work product and does not reflect any crime-fraud issues

because it relates to contractors working with clients on banana cases; and (2) in Collingsworth

September 25, 2012 2:55 PM e-mail, the first half of the second sentence (from “Things are...” to

“...SJ,”) and final sentence of the second paragraph (starting “Bob is...”) are work product, do not

reflect any crime-fraud issues, and should be redacted. The court agrees that these portions of the

e-mails do not meet the crime-fraud standard and should be redacted. Objection SUSTAINED.

       Document CSPRIV469119 is an e-mail communication among Collingsworth’s legal

team regarding payments to Colombian witnesses and payments to Ivan Otero. The Special Master

recommended a finding that the e-mail is closely related to or in furtherance of the crime of witness

bribery and should be produced. C&S objects that the 1st, 5th, and 6th bulleted items in Maggie

Crosby’s September 25, 2012 10:25 AM e-mail do not reflect any crime-fraud issues and should

be redacted. The court agrees that these bullet points do not meet the crime-fraud standard and

should be redacted. Objection SUSTAINED.

       Documents CSPRIV469415 and CSPRIV469426 are copies of an e-mail communication

among Collingsworth’s legal team regarding payments to Colombian witnesses and payments to

Ivan Otero. The Special Master recommended a finding that the e-mail is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that (1) the

second half of Maggie Crosby’s September 10, 2012 3:38 pm e-mail (“...and the pending …



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items?”) and (2) the second line of Lorraine Leete’s September 10, 2012 3:59 PM e-mail “(Also

… timesheet)” do not reflect any crime-fraud issues, and should be redacted. The court agrees that

these portions of the e-mails do not meet the crime-fraud standard and should be redacted.

Objection SUSTAINED.

       Document CSPRIV469616 is an e-mail communication among Collingsworth’s legal

team reflecting monthly payments to Ivan Otero. The Special Master recommended a finding that

the e-mail is closely related to or in furtherance of the crime of witness bribery and should be

produced. C&S objects that the final line of Maggie Crosby’s July 31, 2012 12:28 PM e-mail

(starting “**Janette…”) is work product, does not reflect any crime-fraud issues, and should be

redacted. The court agrees that this portion of the e-mail does not meet the crime-fraud standard

and should be redacted. Objection SUSTAINED.

       Document CSPRIV472609 is an e-mail communication among Collingsworth’s legal

team reflecting monthly payments to Colombian co-counsel for security and logistical issues. The

Special Master recommended a finding that the e-mail is closely related to or in furtherance of the

crime of witness bribery and should be produced. C&S objects that the first un-redacted line in

Collingsworth’s March 5, 2012 4:15:32 PM e-mail (“The phone … please provide)”) is work

product, does not reflect any crime-fraud issues, and should be redacted. The court agrees that this

portion of the e-mail does not meet the crime-fraud standard and should be redacted. Objection

SUSTAINED.

       Document CSPRIV473263 is an e-mail chain among Collingsworth’s legal team, portions

of which discuss the status and source of payments to Ivan Otero and JBM, a Colombian witness,

and a declaration. The Special Master recommended a finding that the chain is closely related to

or in furtherance of the crime of witness bribery and should be produced. C&S objects that item



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No. 6 and the below response (“6. Any updates … tomorrow.”) in Collingsworth’s August 25,

2011 15:11:49 e-mail are work product, do not reflect any crime-fraud issues, and should be

redacted. The portion objected to by C&S appears to refer to matters unrelated to Drummond. The

court agrees that this portion of the e-mail chain does not meet the crime-fraud standard and should

be redacted. Objection SUSTAINED.

       Document CSPRIV473266 is an e-mail chain among Collingsworth’s legal team

discussing the status and source of payments to Ivan Otero and JBM, a Colombian witness, and a

declaration. The Special Master recommended a finding that the chain is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that Item No. 6

in Lorraine Leete’s August 25, 2011 5:39:40 PM e-mail is work product, does not reflect any

crime-fraud issues, and should be redacted. The portion objected to by C&S references an update

from the Van Bilderbeeks (who financed payments to witnesses) as related to a particular witness.

Therefore, the court finds that the parenthetical is closely related to or in furtherance of crime of

witness bribery and should be produced. Objection OVERRULED.

       Document CSPRIV473295 is an e-mail chain among Collingsworth’s legal team

discussing the status and source of payments to Ivan Otero and JBM, a Colombian witness, and a

declaration. The Special Master recommended a finding that the chain is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that Lorraine

Leete’s August 10, 2011 1:46:14 PM e-mail (in its entirety), Collingsworth’s 8/10/11 8:42 AM e-

mail (in its entirety), and the second paragraph of Lorraine Leete’s August 10, 2011 9:33 AM e-

mail (starting “Did you..”) are work product, do not reflect any crime-fraud issues, and should be

redacted. The portion objected to by C&S references an update from the Van Bilderbeeks (who

financed payments to witnesses) as related to a particular witness. Therefore, the court finds that



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the parenthetical is closely related to or in furtherance of crime of witness bribery and should be

produced. Objection OVERRULED.

       Documents CSPRIV474738 and CSPRIV474744 are copies of an e-mail chain among

Collingsworth’s legal team discussing a wire transfer to Ivan Otero and a meeting with JB, a

Colombian witness. The Special Master recommended a finding that the chain is closely related to

or in furtherance of the crime of witness bribery and should be produced. Collingsworth objects

that his February 11, 2011 11:56:41 PM e-mail and Lorraine Leete’s February 11, 2011 2:10 PM

e-mail relate to strategy for gaining entry to prison, are work product, do not reflect any crime-

fraud issues, and should be redacted in their entirety. Collingsworth’s February 11, 2011 4:53

could be read as showing that the payment to Otero, who has been a conduit for paying witnesses,

and the meeting with JB in prison are not unrelated. Therefore, the court finds that these portions

of the chain are closely related to or in furtherance of crime of witness bribery and should be

produced. Objection OVERRULED.

       Documents CSPRIV475135 and CSPRIV475139 are copies of an e-mail chain among

Collingsworth’s legal team discussing the status of payments to Ivan Otero, portions of which are

to be paid to “S” and “ET” “until the depositions have ended.” The Special Master recommended

a finding that the chain is closely related to or in furtherance of the crime of witness bribery and

should be produced. C&S objects that (1) the first paragraph (starting “Translation of...”) and first

5 paragraphs of translated e-mail (starting “I got...”, “Among...”, “There is...”, “Ask...”, and

“Moving to...”) of Lorraine Leete’s 5/4/11 5:38 PM e-mail, and (2) the first 5 paragraphs (starting

“Escucheé…”, “Dentro…”, “Está también…”, “Preguntale…”, and “Pasando...”) of Ivan Otero’s

5/4/11 e- mail, are work product, do not reflect any crime-fraud issues, and should be redacted.

The court agrees that these portions of the e-mail chain do not meet the crime-fraud standard and



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should be redacted. Objection SUSTAINED.

       Documents CSPRIV475209 and CSPRIV475220 are copies of an e-mail chain among

Collingsworth’s legal team regarding payments to Ivan Otero and Colombian witnesses and/or

families. The Special Master recommended a finding that the chain is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that Victoria

Ryan’s June 27, 2011 3:11 PM e-mail and Lorraine Sarfati’s June 27, 2011 3:05 PM e-mail are

work product, do not reflect any crime-fraud issues, and should be redacted in their entirety. The

e-mails refer to payments to a legal expert. The court agrees that these portions of the e-mail chain

do not meet the crime-fraud standard and should be redacted. Objection SUSTAINED.

       Document CSPRIV479093 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses and/or families relating to various

different cases. The Special Master recommended a finding that the chain is closely related to or

in furtherance of the crime of witness bribery and should be produced. C&S objects that (1)

Victoria Ryan’s August 23, 2011 7:00:44 PM e-mail and (2) item Nos. 5 and 6 in Collingsworth’s

August 23, 2011 1:18 PM e-mail are work product, do not reflect any crime-fraud issues, and

should be redacted to match the same redactions applied by the Special Mater in other versions of

this e-mail. The court agrees that Victoria Ryan’s August 23, 2011 7:00:44 PM e-mail and item

No. 5 in Collingsworth’s August 23, 2011 1:18 PM e-mail refer to payments made to various

people and family members in cases unrelated to Drummond, do not meet the crime-fraud standard

and should be redacted. However, item No. 6 discusses a monthly payments to Ramirez, who is a

Colombian lawyer and is alleged to have paid witnesses for use in proceedings against Drummond

(Case No. 2:15-cv-00506-RDP, Doc. # 1). Therefore, the court finds that item No. 6 in the e-mail

chain is closely related to or in furtherance of crime of witness bribery and should be produced,



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with the personal/financial information redacted. Objection SUSTAINED IN PART and

OVERRULED IN PART.

        Document CSPRIV480461 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses and/or families relating to various

different cases. The Special Master recommended a finding that the chain is closely related to or

in furtherance of the crime of witness bribery and should be produced. C&S objects that the second

paragraph (starting “No one has…”) of Collingsworth’s March 9, 2012 10:37:46 PM e-mail is

work product, does not reflect any crime-fraud issues, and should be redacted. The second

paragraph of Collinsworth’s March 9, 2012 10:37:46 PM e-mail appears to refer to matters

unrelated to Drummond. The court agrees that this portion of the e-mail chain does not meet the

crime-fraud standard and should be redacted. Objection SUSTAINED.

       Document CSPRIV480870 is a spreadsheet of C&S monthly expenses and

reimbursements, portions of which reflect payments to Colombian witnesses and Ivan Otero. The

Special Master recommended a finding that the chain is closely related to or in furtherance of the

crime of witness bribery and should be produced. C&S objects that entry for Edgardo does not

reflect any crime-fraud issues, and should be redacted. The court agrees that payments to Edgardo

or his brother relate to a case or cases against an entity other than Drummond. The court agrees

that this portion spreadsheet does not meet the crime-fraud standard and should be redacted.

Objection SUSTAINED.

       Document CSPRIV487612 is a translation of sworn declaration of a Colombian witness

who received payment from Defendants that is not attached to a privileged communication, and

does not reflect attorney mental impressions. Collingsworth asserts that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the



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underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Documents       CSPRIV490336        and   CSPRIV490341         are   e-mail   chains   among

Collingsworth’s legal team, portions of which pertain to the status of wire transfers to Ivan Otero,

and payments for case expenditures. C&S objects that the second half of Ivan Otero’s September

26, 2012 e-mail (from “En lo que tiene...” to the end of the e-mail) is work product, does not reflect

any crime-fraud issues, and should be redacted. The court agrees. This portion of the e-mails

appears to be work product related to cases not before this court and do not appear to relate to any

of the crimes or frauds at issue. Objection SUSTAINED.

       Document CSPRIV490345 is an e-mail chain among Collingsworth’s legal team, portions

of which pertain to the status of wire transfers to Ivan Otero, and payments for case expenditures.

C&S objects that (1) the second un-redacted paragraph (starting “OK - yeah, …”) of Collingsworth

October 3, 2012 e-mail, and (2) the second half of Ivan Otero’s September 26, 2012 e-mail (from

“En lo que tiene...” to the end of the e-mail) are work product, do not reflect any crime-fraud

issues, and should be redacted. The court agrees. This portion of the e-mails appears to be work

product related to cases not before this court and do not appear to relate to any of the crimes or

frauds at issue. Objection SUSTAINED.

       Documents CSPRIV494790 and CSPRIV494793 are an e-mail chain among

Collingsworth’s legal team, portions of which pertain to payments to Ivan Otero, funds for a

witness, and funding from Albert Van Bilderbeek. C&S objects that item No. 6 and the below

response (“6. Any updates … tomorrow.”) in Collingsworth August 25, 2011 15:11:49 e-mail are

work product, do not reflect any crime-fraud issues, and should be redacted. The portion objected

to by C&S appears to refer to matters unrelated to Drummond. The court agrees that this portion



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of the e-mail chain does not meet the crime-fraud standard and should be redacted. Objection

SUSTAINED.

       Document CSPRIV496483 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses and/or families relating to various

different cases. The Special Master recommended a finding that the chain is closely related to or

in furtherance of the crime of witness bribery and should be produced. C&S objects that the second

paragraph (starting “No one has…”) of Collingsworth’s March 9, 2012 10:37:46 PM e-mail is

work product, does not reflect any crime-fraud issues, and should be redacted. The second

paragraph of Collinsworth’s March 9, 2012 10:37:46 PM e-mail appears to refer to matters

unrelated to Drummond. The court agrees that this portion of the e-mail chain does not meet the

crime-fraud standard and should be redacted. Objection SUSTAINED.

       Document CSPRIV498148 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses. The Special Master recommended a

finding that the chain is closely related to or in furtherance of the crime of witness bribery and

should be produced. C&S objects that (1) the first paragraph of Lorraine Leete’s July 3, 2012 1:04

PM e-mail (starting “Got it...”), (2) the third paragraph of Collingsworth’s July 3, 2012 11:49 AM

e-mail (starting “I’ll bring Yina...”), and (3) the second paragraph of Leete’s July 3, 2012 12:44

PM e-mail (starting “One other...”) are work product, do not reflect any crime-fraud issues, and

should be redacted. The court agrees that these portions of the e-mail chain do not meet the crime-

fraud standard and should be redacted. Objection SUSTAINED.

       Documents CSPRIV498502 and CSPRIV498504 are e-mail communications among

Collingsworth’s team portions of which pertain to monthly payments to Ivan Otero for payments

to witnesses. The Special Master recommended a finding that those portions of the e-mails are



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closely related to or in furtherance of the crime of witness bribery and should be produced, with

the remainder redacted as work product. C&S objects that the third paragraph in Luisa Pavolini’s

September 26, 2012 3:46 PM e-mail (starting “Please note…”) is work product, does not reflect

any crime-fraud issues, and should be redacted. The court agrees that this portion of the e-mail

does not meet crime-fraud standard and should be redacted. Objection SUSTAINED.

       Document CSPRIV498590 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses. The Special Master recommended a

finding that the chain is closely related to or in furtherance of the crime of witness bribery and

should be produced. C&S objects that sensitive bank and account information should be redacted.

The court agrees that sensitive bank and account information should be redacted. Objection

SUSTAINED.

       Document CSPRIV498843 is an e-mail chain among Collingsworth’s legal team portions

of which pertain to payments to Ivan Otero and Colombian witnesses. The Special Master

recommended a finding that the chain is closely related to or in furtherance of the crime of witness

bribery and should be produced. C&S objects that the third sentence in Susana Tellez’s March 6,

2012 9:41 am e-mail (“I am already…”) should be redacted as work product. The court disagrees.

This portion of the e-mail relates to money being wired to Otero, who was responsible for

payments to witnesses. Objection OVERRULED.

       Document CSPRIV498887 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses. The Special Master recommended a

finding that the chain is closely related to or in furtherance of the crime of witness bribery and

should be produced. C&S objects that the second half of Ivan Otero’s September 26, 2012 e-mail

(from “En lo que tiene...” to the end of the e-mail) is work product, does not reflect any crime-



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fraud issues, and should be redacted. The court agrees. This portion of the e-mail appears to be

work product related to cases not before this court and do not appear to relate to any of the crimes

or frauds at issue. Objection SUSTAINED.

       Document CSPRIV498891 is an e-mail chain among Collingsworth’s legal team

regarding payments to Ivan Otero and Colombian witnesses. The Special Master recommended a

finding that the chain is closely related to or in furtherance of the crime of witness bribery and

should be produced. C&S objects that (1) everything besides the second sentence of the second

paragraph of Lorraine Leete’s October 3, 2012 4 52 PM e-mail (starting “Ivan understands…”),

and (2) the second half of Ivan Otero’s September 26, 2012 e-mail (from “En lo que tiene...” to

the end of the e-mail) is work product, does not reflect any crime-fraud issues, and should be

redacted. The court agrees. This portion of the e-mail appears to be work product related to cases

not before this court and do not appear to relate to any of the crimes or frauds at issue. Objection

SUSTAINED.

       Documents CSPRIV498897, CSPRIV498902, and CSPRIV498908 are copies of an e-

mail chain among Collingsworth’s legal team regarding payments to Ivan Otero and Colombian

witnesses. The Special Master recommended a finding that the chain is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that (1) the

second line to end of Collingsworth October 4, 2012 12:42:27 AM e-mail (starting “I’m very...”),

(2) everything besides the second sentence of the second paragraph of Lorraine Leete’s October 3,

2012 5 53 PM e-mail (starting “Ivan understands…”), and (3) the second half of Ivan Otero’s

September 26, 2012 e-mail (from “En lo que tiene...” to the end of the e-mail) is work product,

does not reflect any crime-fraud issues, and should be redacted. The court agrees. This portion of

the e-mail appears to be work product related to cases not before this court and do not appear to



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relate to any of the crimes or frauds at issue. Objection SUSTAINED.

       Document CSPRIV498914 is a two page e-mail from Collingsworth (translated by

Lorraine Leete) to Ivan Otero regarding a request for reimbursement of large sums incurred in

connection with development of witness testimony. The Special Master recommended a finding

that the chain is closely related to or in furtherance of the crime of witness bribery and should be

produced. C&S objects that the parenthetical in first un-redacted paragraph (“En Drummond …

por 11 años.”) on CSPRIV498915 is work product and does not reflect any crime-fraud issues.

On the contrary, the parenthetical refers directly to payments made in the cases against Drummond.

Objection OVERRULED.

       Document CSPRIV499238 is an e-mail to Ivan Otero from family member of Colombian

witness regarding monthly payment and internal e-mail among Collingsworth’s legal team

pertaining to request by family of Colombian witness for payment. The Special Master

recommended a finding that the chain is closely related to or in furtherance of the crime of witness

bribery and should be produced. C&S objects that the final two sentences of Ivan Otero’s July 27,

2013 1 08 AM e-mail (starting “Hoy conersé…” through …con otras.”) are work product and do

not reflect any crime-fraud issues because they relate to another case. The court disagrees.

Although the e-mail is somewhat vague, it relates to Charris, who received payments related to the

Drummond cases, and wanting more victims. Objection OVERRULED.

       Document CSPRIV501289 is an e-mail chain between Collingsworth and former

Drummond employee (Victor Marenco Boekhoudt), a Colombian witness in the Romero case. The

Special Master recommended a finding that the chain was not privileged. C&S objects that this is

a communication with source and potential witness in an effort to gather evidence, and is work

product. The jury trial in the Romero case took place from July 10, 2007 through July 26, 2007.



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See Romero v. Drummond Co, Inc, et al., Case No 7:03-cv-00575-KOB. The Jury returned a

verdict in favor of Drummond on July 26, 2007. (Case No 7:03-cv-00575-KOB, Doc. # 486). Final

judgment in favor of Drummond was entered on July 30, 2007. (Case No 7:03-cv-00575-KOB,

Doc. # 487). The initial e-mail in the chain is dated July 23, 2007, and appears to be just an e-mail

checking in following the writer’s testimony and following Collingsworth’s questioning of

Drummond’s witnesses. The response, dated September 28, 2007, contains nothing of substance

nor does it relate to gathering evidence. The remaining e-mails, dated April 10 and 11, 2009, follow

the Eleventh Circuit’s decision affirming the 2007 decision in Romero in favor of Drummond and

do not contain any information regarding gathering evidence. Objection OVERRULED.

       Document CSPRIV501455 is an e-mail chain between a third party who runs Corporate

Campaign, Inc., which runs a website campaign against another company conducting business in

Colombia, Collingsworth, and Albert Van Bilderbeek of Llanos Oil. The Special Master

recommended a finding that the inclusion of the third party waives any privilege over the

communication, but that the top two e-mails, which are between Collingsworth and Van

Bilderbeek only, should be redacted as attorney-client communications. C&S objects that e-mails

with a media consultant sharing a common interest qualify as work-product.

       “The party claiming the [common interest] privilege must demonstrate that ‘(1) the

material is privileged, (2) “the parties had an identical legal and not solely commercial interest,”

and (3) the communication was designed to further the shared legal interest.’” In re Androgel

Antitrust Litig. (No. II), 2015 WL 9581828, at *2 (N.D. Ga. Dec. 30, 2015) (quoting Net2Phone,

Inc. v. Ebay, Inc., 2008 WL 8183817, at *7 (D.N.J. June 26, 2008) (citations omitted), in turn

quoting In re Regents of Univ. of Cal., 101 F.3d 1386, 1390 (Fed. Cir. 1996)). The proponent of

the common interest doctrine must establish that “the act of sharing was part of an ongoing



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common legal enterprise” as opposed to a “joint business strategy which happens to include as one

of its elements a concern about litigation.” See Spencer v. Taco Bell, Corp., 2013 WL 12156093,

at *2-3 (M.D. Fla. Apr. 23, 2013) (quoting Neuberger Berman Real Estate Income Fund, Inc. v.

Lola Brown Trust, No. 1B, 230 F.R.D. 398, 416 (D. Md. 2005), and Bank Brussels Lambert v.

Credit Lyonnais (Suisse) S.A., 160 F.R.D. 437, 447 (S.D.N.Y. 1995)); see also Del Monte Int’l

GMBH v. Ticofrut, S.A., 2017 WL 1709784, at *7 (S.D. Fla. May 2, 2017). The June 18, 2007 e-

mail is simply an e-mail pitch from Rogers to Van Bilderbeek seeking to sell his services to Llanos

Oil and is therefore not privileged. Rogers appears to only have a commercial interest in

representing Llanos Oil, but no direct interest in the litigation. Therefore, the common interest

privilege does not apply.

       As to the two e-mails just between Collingsworth and Van Bilderbeek that the Special

Master recommended be redacted as attorney-client communications, the court does not believe

these e-mails are protected by any privilege. According to Collingsworth’s e-mail, there was not

yet a formal relationship with Van Bilderbeek. Moreover, the communication does not reveal any

common litigation strategy as opposed to related commercial interests. Objection OVERRULED.

       Document CSPRIV502057 is an e-mail from Collingsworth to Albert Van Bilderbeek of

Llanos Oil and a third party who runs Corporate Campaign, Inc., which runs a website campaign

against another company conducting business in Colombia. The Special Master recommended a

finding that the inclusion of the third party waives any privilege over the communication. C&S

objects that e-mails with a media consultant sharing a common interest are work-product. This e-

mail from Collingsworth predates the e-mails in Document CSPRIV501455, and is designed to

introduce Van Bilderbeek to the media consultant. For the same reasons discussed in relation to

Document CSPRIV501455 (no common litigation interest and no formal attorney-client



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relationship with Van Bilderbeek), the e-mail is not privileged. Objection OVERRULED.

       Document CSPRIV503065 is an e-mail chain among Collingsworth’s legal team portions

of which relate to the status of payments to Ivan Otero. The Special Master recommended a finding

that the chain is closely related to or in furtherance of the crime of witness bribery and should be

produced. C&S objects that the paragraph from “En lo que tiene...” to the end of the e-mail are all

work product, do not reflect any crime-fraud issues, and should be redacted. As with Document

CSPRIV413450, the court agrees. This portion of the e-mail appears to be work product related

to cases not before this court and do not appear to relate to any of the crimes or frauds at issue.

Objection SUSTAINED.

       Document CSPRIV505353 is an e-mail chain among Collingsworth’s legal team portions

of which relate to security payments and/or witness payments to Ivan Otero from Albert Van

Bilderbeek. The Special Master recommended a finding that the chain is closely related to or in

furtherance of the crime of witness bribery and should be produced. C&S objects that the second

paragraph of Lorraine Leete’s September 23, 2011 11:53 AM e-mail (starting “I’m sorry...”) is

work product, does not reflect any crime-fraud issues, and should be redacted. C&S points out that

the Special Master redacted that paragraph in Document CSPRIV505351.

       The party asserting the work-product privilege has the initial burden to establish that the

documents it seeks to protect were prepared in anticipation of litigation. United States ex rel. Bibby

v. Wells Fargo Bank, N.A., 165 F. Supp. 3d 1319, 1324 (N.D. Ga. 2015). The “in anticipation of

litigation” prong contains within it two related but distinct concepts: the document must have been

prepared before or during the litigation and it must have been prepared for litigation and not for

some other purpose. See id. at 1324 (emphasis in original). The subject paragraph merely discusses

internet connectivity and moving offices, which does not appear to have been prepared “for”



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litigation. Objection OVERRULED.

       Document CSPRIV505369 is an e-mail chain among Collingsworth’s legal team portions

of which relate to a request/demand for reimbursement by Colombian counsel for amounts spent

on security for families. The Special Master recommended a finding that the chain is closely related

to or in furtherance of the crime of witness bribery and should be produced. C&S objects that on

CSPRIV505370, the second half of the paragraph in Collingsworth’s December 13, 2012 3:19

PM e-mail (from “To make a...” to paragraph end) is work product, does not reflect any crime-

fraud issues, and should be redacted. C&S states that this section concerns potential co-counsel

arrangements for an unrelated case. The court disagrees. Although this portion may also relate to

an unrelated case, it is part of the same overall discussion about payments to Colombian co-counsel

and cannot be separated from that discussion. Objection OVERRULED.

       Documents CSPRIV513507, CSPRIV513508, and CSPRIV513509 all contain an e-mail

among Collingsworth’s legal team discussing payments to a Colombian witness and potential

sources of those funds. The Special Master recommended a finding that the e-mail is closely related

to or in furtherance of the crime of witness bribery and should be produced. C&S objects that, in

the main paragraph, the second and third sentences (starting “Our current… My firm…”) should

be redacted as work product related to mental impressions concerning the propriety of paying legal

fees. The court disagrees. The statements relate to counsel’s evaluation of the legality of the crime

or fraud at issue. Therefore, they are closely related to or in furtherance of the crime of witness

bribery and should be produced. Objection OVERRULED.

       Documents CSPRIV516715, CSPRIV516717, and CSPRIV516720 are an e-mail chain

among Collingsworth’s legal team portions of which discuss a witness’s requests for money for a

declaration and offers of money to other witnesses. The Special Master recommended that the



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challenged portions discussing funds for witnesses and requests by witness for payment are closely

related to or in furtherance of the crime of witness bribery and should be produced. C&S’s

objection is that two sentences (starting “I also... Still waiting…”) are work product, do not reflect

any crime-fraud issues, and should be redacted. The court disagrees. Although the sentences are

subject to different interpretations, one interpretation is that they relate to payments to witnesses.

Objection OVERRULED.

       Documents CSPRIV516784 and CSPRIV517063 are an e-mail chain among

Collingsworth’s legal team and between Collingsworth and Albert Van Bilderbeek confirming

wire transfers for witness and security payments. The Special Master recommended that the e-

mails are closely related to or in furtherance of the crime of witness bribery and should be

produced. C&S objects that sensitive financial information should be redacted. The court agrees

that any account information should be redacted. Objection SUSTAINED.

       Document CSPRIV517108 is an e-mail chain among Collingsworth’s legal team, with the

initial e-mail to Collingsworth originating from a researcher with a Dutch human rights group who

authored a report on funding and collaboration of paramilitary groups in Colombia by coal

companies. The remaining e-mails are internal counsel discussions. The Special Master

recommended that the initial e-mail from a third party is not privileged, but that the other e-mails

between counsel are unrelated to witness payments and should be redacted as work product. C&S

objects that an e-mail with an NGO sharing a common interest is work product and should be

withheld. C&S has not demonstrated that “the parties [to the e-mail] had an identical legal and not

solely commercial interest,” In re Androgel Antitrust Litig. (No. II), 2015 WL 9581828, at *2 (N.D.

Ga. Dec. 30, 2015), and therefore that the common interest doctrine should apply. Objection

OVERRULED.



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        Document CSPRIV520280 is an e-mail chain among Collingsworth’s legal team

discussing the status of funds to be sent to Colombia through Ivan Otero. The Special Master

recommended that the e-mails are closely related to or in furtherance of the crime of witness

bribery and should be produced. C&S objects that there is no indication in the e-mail that it relates

to funds, as the language used is vague. Although the sentences are subject to different

interpretations, one interpretation is that they relate to payments to witnesses. Objection

OVERRULED.

       Document CSPRIV521231 is a Drummond-related Memo/To-Do List dated June 15,

2012 among Collingsworth’s legal team reflecting meeting notes with a Colombian witness,

portions of which reference payments and agreements for payments to witnesses. The Special

Master recommended that the portions referencing payments and agreements for payments to

witnesses are closely related to or in furtherance of the crime of witness bribery, but that the

remainder should be redacted as work product. C&S objects that on page CSPRIV521231, in item

1, the final sentence (starting “With regards…”) reflects strategy to work with new plaintiffs, is

work product, does not reflect any crime-fraud issues, and should be redacted. The court agrees

this sentence should be redacted. Objection SUSTAINED.

       Document CSPRIV521490 is a draft insert for a “response.” The Special Master

recommended that the portions discussing witness payments are closely related to the crime of

witness bribery and should be produced, and the remainder should be redacted as work product.

C&S objects that (1) on page CSPRIV521493, the first two un-redacted sentences (starting

“Indeed, ... CITE ...”) and the associated margin comment should be redacted because, C&S

argues, an expert’s opinion on what is the standard practice in Colombia does not fit into one of

the current discovery categories; (2) on page CSPRIV521494, all but the header and the final



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sentence (from “the purpose of...” to “... from such litigation.”) is work product and should be

redacted because, C&S argues, it is pure legal argument not applying any facts; and (3) on pages

CSPRIV521495 (entire page), 521496 (entire page), and 521497 (through the grey highlighted

sentence, ending with “...WFP report”) and the associated margin comments are work product and

should be redacted because, C&S argues, it is pure legal argument not applying any facts.

       The Special Master determined that this document, which is titled “Opposition Response,”

was a discovery response. But it appears to the court that the document consists of notes, an outline,

and a draft for briefing in opposition to a motion and thus was “prepared by the party or his

representative because of the [ongoing] litigation.’” Owens v. Stifel, Nicolaus & Co., 2013 WL

6389035, at *2 (M.D. Ga. Dec. 6, 2013) (quoting Shipes v. BIC Corp., 154 F.R.D. 301, 305

(M.D.Ga.1994)). Objection SUSTAINED.

       Document CSPRIV522103 is a signed declaration of Ivan Otero, a Columbian attorney

who facilitated payments to witnesses, together with a translation, that is not attached to any

privileged communication. Collingsworth objects that the translation is work product and should

not be produced. Translations of documents are to be treated the same as the underlying document

(Doc. # 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV522123 is a translation of the declaration of Ivan Otero, a Columbian

attorney who facilitated payments to witnesses, that is not attached to any privileged

communication. Collingsworth objects that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Documents CSPRIV522198 and CSPRIV522207 are signed declarations, together with

translations, that are not attached to any privileged communication. Collingsworth objects that the



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translations are work product and should not be produced. Translations of documents are to be

treated the same as the underlying document (Doc. # 628 at & 10(c)), which is neither work

product, nor privileged. Objection OVERRULED.

       Document CSPRIV522265 is a translation of a signed letter to a third party, not attached

to any privileged communication, and has no indication either that it is a draft or of any attorney

mental impressions. Collingsworth objects that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV522782 is a translation of a signed letter to a third party, not attached

to any privileged communication, and has no indication either that it is a draft or of any attorney

mental impressions. Collingsworth objects that the translation is work product and should not be

produced. Translations of documents are to be treated the same as the underlying document (Doc.

# 628 at & 10(c)), which is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV522783 is a signed declaration, together with a translation, that is not

attached to any privileged communication. Collingsworth objects that the translation is work

product and should not be produced. Translations of documents are to be treated the same as the

underlying document (Doc. # 628 at & 10(c)), which is neither work product, nor privileged.

Objection OVERRULED.

       Document CSPRIV522923 is an e-mail chain among Collingsworth’s legal team portions

of which discuss payments to a witness and the witness’s family. The Special Master

recommended that the portions discussing payments to witnesses and the disclosure of information

concerning witness payments and discovery responses are closely related to or in furtherance of

the alleged fraud on the court and should be produced, and the remainder should be redacted as



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work product. C&S objects that on pages CSPRIV522925, -522927, and -522930, the paragraph

starting with “Notice that for...” (the same paragraph appears on all three pages) is work product,

does not reflect any crime-fraud issues, and should be redacted because, C&S argues, the

paragraph contains legal research and analysis about payments to non-witness informants.

Although the objected-to paragraph relates to payments to non-witnesses, one interpretation is that

the persons to whom these payments were made were conduits for payments to witnesses, and

there certainly is a factual predicate for that interpretation. Objection OVERRULED.

       Document CSPRIV522947 is an e-mail chain among Collingsworth’s legal team portions

of which discuss payments to Ivan Otero for security or witness payments. The Special Master

recommended that these portions are closely related to or in furtherance of the alleged fraud on the

court and should be produced, and the remainder should be redacted. C&S objects that (1) on pages

CSPRIV522947, -522948, -522951, and -522953, in Ivan Otero’s September 26, 2012 e-mail (the

same e-mail appears four times), the entire second half of e-mail (sentences starting “Jarley...” and

“Para acompañarme...”) is work product, does not reflect any crime-fraud issues, and should be

redacted; (2) on pages CSPRIV522948, -522950, and -522951, in Lorraine Leete’s September 26,

2012 10:05 pm e-mail (same e-mail appears twice), the entire second paragraph (sentences starting

“Jarley…” and “In order to...”) is work product, does not reflect any crime-fraud issues, and should

be redacted; (3) on page CSPRIV522949, in Collingsworth September 27, 2012 8:42 GMT e-

mail, in the paragraph starting “On the trip...” is work product, does not reflect any crime-fraud

issues, and should be redacted; and (4) on page CSPRIV522953, in Leete’s September 27, 2012

9:07 e-mail, the paragraph starting “En el viaje...” is work product, does not reflect any crime-

fraud issues, and should be redacted. The court agrees. It does not appear these paragraphs meet

the crime-fraud standard and should be redacted. Objection SUSTAINED.



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       Document CSPRIV524264 is an e-mail chain among Collingsworth’s legal team related

to case expenses and reflecting wires of funds to Colombia for witnesses. The Special Master

recommended that the whole e-mail chain is closely related to or in furtherance of the alleged

crime of witness bribery and should be produced. C&S objects that on page CSPRIV524265, in

Susana Tellez’s April 25, 2011 e-mail at 15:20:29, the final paragraph (starting “Shutting off…”)

is work product, does not reflect any crime-fraud issues, and should be redacted. Although this

paragraph is non-substantive, it is not related to witness payments and therefore does not meet the

crime-fraud standard, and should be redacted. Objection SUSTAINED.

       Document CSPRIV524274 is an e-mail chain among Collingsworth’s legal team, portions

of which also include a third-party researcher with a human rights group. The Special Master

recommended that the e-mail with the third party be produced, but that the internal e-mail

communications among Collingsworth’s legal team related to case matters and unrelated to any

crimes/frauds alleged should be redacted as work product. C&S objects that e-mails with an NGO

sharing common interest are work-product and should be withheld. C&S has not demonstrated that

“the parties [to the NGO e-mail] had an identical legal and not solely commercial interest,” In re

Androgel Antitrust Litig. (No. II), 2015 WL 9581828, at *2 (N.D. Ga. Dec. 30, 2015), and therefore

that the common interest doctrine should apply. Objection OVERRULED.

       Document CSPRIV524284 is an e-mail chain among Collingsworth’s legal team and co-

counsel, portions of which pertain to request by Colombian counsel to be reimbursed large sums

for costs incurred in obtaining testimony in Colombia. The Special Master recommended that the

portions related to payments are closely related to or in furtherance of the alleged crime of witness

bribery and should be produced while the remaining portions should be redacted as work product.

C&S objects that (1) on pages CSPRIV524284, -524290, -524296, -524303, -524310, -524319,



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and -524327 (the same e-mail appears seven times), the second half of the paragraph in

Collingsworth’s December 13, 2012 3:19 PM e-mail (from “To make a...” to paragraph end)

concerns potential co-counsel arrangements from an unrelated case, is work product, does not

reflect any crime-fraud issues, and should be redacted; and (2) on pages CSPRIV524308, -524317,

and -524326 (the same e-mail appears three times), in Shubhaa Srinivasan’s February 14, 2012

8:13 AM e-mail, the second half of the paragraph (from “Good idea...” to the end) concerns

potential co-counsel arrangements from an unrelated case, is work product, does not reflect any

crime-fraud issues, and should be redacted. The court disagrees. Although this portion may involve

an unrelated case, it is inextricably intertwined with the overall discussion about payments to

Colombian co-counsel and cannot be separated from that. Objection OVERRULED.

       Document CSPRIV528274 is an e-mail chain among Collingsworth’s legal team portions

of which discuss wire transfers to Ivan Otero for security or witness payments. The Special Master

recommended that these portions are closely related to or in furtherance of the alleged crime of

witness bribery and should be produced, and the personal/financial information should be redacted.

C&S objects that Mario Ivan Marengo Otero is a different person from Ivan Otero and was a

Colombian contractor in the Drummond litigation. Thus, C&S argues, the document is work

product and does not relate to any crime-fraud issue and should be withheld in its entirety. In light

of the information that this is a different Otero, and there is no evidence this Otero facilitated

witness payments, this document does not meet crime-fraud standard and should not be produced.

Objection SUSTAINED.

       Documents CSPRIV529501 and CSPRIV529503 consist of translations of signed letters

between Ivan Otero and a third party, not attached to any privileged communication, and

containing no indication either that they are drafts or contain any attorney mental impressions.



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Collingsworth objects that the translation is work product and should not be produced. Translations

of documents are to be treated the same as the underlying document (Doc. # 628 at & 10(c)), which

is neither work product, nor privileged. Objection OVERRULED.

       Document CSPRIV529517 is a memorandum among Collingsworth’s legal team relating

to Drummond dated May 2, 2011, a portion of which pertains to a payment to a witness and/or

family. The Special Master recommended that this portion is closely related to or in furtherance of

the alleged crime of witness bribery and should be produced, and the personal/financial

information should be redacted. C&S objects that on page CSPRIV529517, in the first sentence,

the city to which the witness’s family relocated should be redacted. The court agrees. Objection

SUSTAINED.

        Document CSPRIV529528 is a memorandum among Collingsworth’s legal team relating

to Drummond dated November 16, 2011, portions of which pertain to payments to a witness and/or

family. The Special Master recommended that these portions are closely related to or in furtherance

of the alleged crime of witness bribery and should be produced, and the remainder should be

redacted. C&S objects that on page CSPRIV529528, in the first sentence of the unredacted

paragraph, the city to which the witness’s family relocated should be redacted. The court agrees.

Objection SUSTAINED.

       Document CSPRIV529530 is a memorandum among Collingsworth’s legal team relating

to Drummond dated November 18, 2011, portions of which pertain to payments to a witness and/or

family. The Special Master recommended that these portions are closely related to or in furtherance

of the alleged crimes of witness bribery and suborning perjury and should be produced, and the

remainder should be redacted. C&S objects that on page CSPRIV529530, in the first sentence,

the city to which the witness’s family relocated should be redacted. The court agrees. Objection



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SUSTAINED.

       Document CSPRIV529531 is a memorandum among Collingsworth’s legal team relating

to Drummond dated November 4, 2011, portions of which pertain to payments to a witness and/or

family. The Special Master recommended that these portions are closely related to or in furtherance

of the alleged crimes of witness bribery and suborning perjury and should be produced, and the

remainder should be redacted. C&S objects that on page CSPRIV529531, in the first sentence of

the second un-redacted paragraph, the city to which the witness’s family relocated should be

redacted. The court agrees. Objection SUSTAINED.

       Documents CSPRIV529991 and CSPRIV529992 are an e-mail chain between

Collingsworth and a witness in the Romero case, and a copy of the court’s April 30, 2010

Memorandum Opinion in Doe v. Drummond, Case No. 2:09-CV-01041. The Special Master

recommended that the documents be produced because they are not privileged. Collingsworth

objects that a communication with a source and potential witness in an effort to gather evidence is

work product. The communication contains mere pleasantries and no effort to gather evidence.

Objection OVERRULED.

       Document CSPRIV531101 is an e-mail chain among Collingsworth’s legal team, portions

of which reflect wire transfers to Colombian counsel for work performed in a Drummond matter

and transportation payments for family members. The Special Master recommended that that these

portions are closely related to or in furtherance of the alleged crime of witness bribery and should

be produced, and the remainder should be redacted. C&S objects that on page CSPRIV531101,

the entirety of Janette Perez’s August 26, 2010 10:47 AM e-mail is work product, does not reflect

any crime-fraud issues, and should be redacted because, C&S says, the e-mail references the

payment of transportation costs for plaintiffs in underlying cases. The court agrees. Janette Perez’s



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August 26, 2010 10:47 AM e-mail does not meet the crime-fraud standard and should be redacted.

However, the remaining portions left un-redacted do meet the standard and should be produced.

Objection SUSTAINED.

       Document CSPRIV531306 is an e-mail chain among Collingsworth’s legal team, a

portion of which pertains to the source of funds for a family’s relocation. The Special Master

recommended that that this portion is closely related to or in furtherance of the alleged crime of

witness bribery and should be produced, and the remainder should be redacted. C&S objects that

on page CSPRIV531306, the final clause of the first paragraph of Collingsworth’s August 30,

2010 1:31 PM e-mail (from “and will hand… “ to end of sentence) is work product, does not reflect

any crime-fraud issues, and should be redacted. Although this portion is somewhat unclear, it is

part of the same overall discussion about payments for relocating a witness’s family and cannot be

separated from that discussion. Objection OVERRULED.

III.   Conclusion

       The Special Master SHALL produce the documents addressed herein to Drummond in a

manner consistent with the court’s rulings on the relevant objections.

       In addition, after reviewing the court’s rulings herein, the parties SHALL meet and confer,

with the assistance of the Special Master, to apply these rulings to the remaining documents poised

for in camera inspection by the court. The court notes that any objections maintained after this

review process which do not appear to take into account the court’s rulings herein may result in

the imposition of sanctions.

       On or before January 28, 2022, the parties SHALL file a joint report acknowledging the

court’s instructions and setting forth a proposed schedule to accomplish these tasks.




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DONE and ORDERED this January 7, 2022.



                               _________________________________
                               R. DAVID PROCTOR
                               UNITED STATES DISTRICT JUDGE




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